Case 1:05-cr-10043-.]DT Document 6 Filed 07/22/05 Page 1 of 2 Page|D 7

UNITED STATES DISTRICT COURT i:i-*.i.:D §§Y*__,_`__H_D.C.
WESTERN DISTRICT OF TENNESSEE
Eastern Division 05 JUL 22 PH h: 29
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CLERK. U.S §)i§f’f`fjcf COURT
-vs- Case No. 1:l)§cri.¥@£l?,-]11)1]1%;€'ON

G Ul LLERMO OROZCO-BOBADILLA

 

()RDER APPOlNTING COUNSEL PURSUANT T()
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above»styled case, and is otherwise qualified for appointment of counsel. Accordingiy,
the Court makes the following appointment pursuant to the Criminal Justice Act (lS U.S.C. § 3006A):

APPOINTMENT OF COUNSEL
The Federal Public Defender is appointed as counsel for the Defendant.
TYPE OF APPOINTMENT

' All purposes including trial and appeal

DONE and ORDERED in 111 South Highland, Jackson, TN, this 22nd day Of July, 2005.

csan

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Copies furnished to:
United States Attorney
United States l\/Iarshal

Pretrial Services Ot`i'iee
Assistant Federal Publie Dei`ender

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Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 1:05-CR-10043 Was distributed by faX, mail, or direct printing on
July 26, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

